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    Jeffrey M. Pollock
    Michael W. Sabo
    FOX ROTHSCHILD LLP
    Princeton Pike Corporate Center
    997 Lenox Drive
    Lawrenceville, NJ 08648-2311
    (609) 844-3038
    JMPollock@foxrothschild.com
    MSabo@foxrothschild.com
    Attorneys for Andy Birchfield and
    Beasley Allen

                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY



                                                      Case No. 3:16-md-2738 (MAS)/(RLS)

   IN RE: JOHNSON & JOHNSON TALCUM                             MLD Case No. 2738
   POWDER PRODUCTS MARKETING,
   SALES PRACTICES AND PRODUCTS                          [FILED ELECTRONICALLY]
   LIABILITY LITIGATION
                                                         CERTIFICATE OF SERVICE



             I hereby certify that on May 17, 2024, a true and correct copy of Beasley Allen’s Post-
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                                                     By: /s/Michael W. Sabo

                                                          Michael W. Sabo
                                                          FOX ROTHSCHILD LLP
                                                          Email: msabo@foxrothschild.com
